                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE



UNITED STATES OF AMERICA                        )
                                                )
      v.                                        )    CRIMINAL CASE NO. 3:05-CR-115
                                                )    JUDGE PHILLIPS/GUYTON
JOSEPH FAIRCLOTH                                )



                                       ORDER

             On the petition of the United States of America by Harry S. Mattice, Jr.,

United States Attorney for the Eastern District of Tennessee,

             It is ordered that the Clerk of this Court be and hereby is instructed to issue

a writ of habeas corpus ad prosequendum to the Sheriff, Sevier County Jail, Sevierville,

Tennessee, to bring Joseph Faircloth, before this Court at Knoxville, Tennessee, on the

8th day of November, 2005 at 9:00 a.m. on that day, for an initial appearance, or for his

case to be otherwise disposed of, and each day thereafter until said case is disposed of,

and immediately thereafter be returned to said Sheriff, Sevier County Jail, Sevierville,

Tennessee.

             And it is further ordered that, in the event the Sheriff, Sevier County Jail,

Sevierville, Tennessee, so elects, the United States Marshal for the Eastern District of

Tennessee, or any other duly authorized United States Marshal or Deputy United States

Marshal, is directed to receive said Joseph Faircloth, into his custody




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and transport him to and from said Sevier County Jail, Sevierville, Tennessee, and this

Court for the aforesaid purpose.


                                         APPROVED FOR ENTRY:



                                               s/ H. Bruce Guyton
                                         United States Magistrate Judge




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